                    Case 5:17-mj-00004-JLT Document 16 Filed 02/16/17 Page 1 of 3
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                       Page 1 of       3   Pages



                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Eastern District of California
                                                                                                              FILED
                                                                                                                     FEB 16 2017
                                                                                                           CLERK, U.S. DISTRICT COURT
                    United States of America                             )                               EASTERN DISTRICT OF CALIFORNIA
                                   v.                                    )                              BV      ~~gO'
                         LORI CARRILLO                                   )        Case No.       5:17-mj-00004-JLT
                                                                         )
                              Defendant
                                                                         )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED thatthe defendant's release is subject to these conditions:

(1)    The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a
            .                                                                                .                        )    \

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of.residence or telephone number.

( 4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose. · _

       The defendant must appear at:              United States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                        ·   Place
       Courtroom 8 before Magistrate Judge Barbara A. McAuliffe

       on                                                           3/1/2017 at 2:00PM
                                                                        Date and Time


       If blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.
                     Case
AO 1998 (Rev. 09/08- EDCA    5:17-mj-00004-JLT
                          [Fresno])                            Document
                                    Additional Conditions of Release (General) 16               Filed 02/16/17 Page 2 of 3   Page   (I] of 0 Pages
CARRILLO, Lori Isabel
Doc. No. 5: 17-00004-1
                                                      ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety
of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked·
below:

0    (6)        The defendant is placed in the custody of:

                      Name of person or organization                         Diana Carrillo.

           who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the
           appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
           defendant violates an conditions ofreleary or dis~pp ar. .
                                         1

                      SIGNED: -1-V..--'--'::....::...C'---'"----+::.,cv.-=-----'<--....o.L!""
                                             CUSTODIAN
0    (7)        The defendant must:
     0          (a)     report on a regular basis to the following agency:
                        Pretrial Services and comply with their rules and regulations;
                (b)     report in person to the Pretrial Services Agency on the first working day following your release from
                '       custody;
                (c)     reside at a location approved by the PSO, and not move or be absent from this residence for more than 24
                        hrs. without prior approval ofPSO; restrict travel to the Eastern District of California, unless otherwise
                        approved in advance by PSO;
                (d)     report any contact with law enforcement to your PSO within 24 hours;
                (e)     not associate or have any contact with Lad on Denmark and Aaron Stewart unless in the presence of
                        counsel or otherwise approved in advance by the PSO;
                (f)     maintain or actively seek employment, and provide proof thereof to the PSO, upon request;
                (g)     not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other
                        dangerous weapon; additionally, you shall provide written proof of divestment of all
                        firearms/ammunition, currently under your control;
                (h)     submit to drug and/or alcohol testing as approved by the PSO. You must pay all or part of the costs of the
                        testing services based upon your ability to pay, as determined by the Pretrial Services Offic~r;
                (i)     refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance without
                        a prescription by a licensed medical practitioner; and you must notify Pretrial Services Immediately of
                        any prescribed medication(s). However, medical marijuana, prescribed and/or recommended, may not be
                        used;
                U)      participate in a program of medical or psychiatric treatment including treatment for drug or alcohol
                        dependency, as approved by the PSO; you must pay all or part of the costs of the counseling services
                        based upon your ability to pay, as determined by the PSO;
                (k)     participate in a cognitive behavioral therapy program as directed by the PSO. Such programs may include
                        group sessions led by a counselor or participation in a program administered by the PSO; and,
                (I)     address all outstanding criminal matters (including the outstanding warrant of arrest issued in Tulare
                        County and the failure to. appear to address·a traffic matter in Kern County Superior Court) and provide
                        proof as directed by the PSO.
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AO 199C (Rev. 09/08- EDCA [Fresno]) Advice of Penalties                                                                       Page          3              of   3   Pages

                                                ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more -you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                                                                      Defendant's Signature




                                                   Directions to the United States Marshal

( [{]) The defendant is ORDERED released after processing.




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Date: _..2.....__._/---"---=J
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                                                                                    udi$1 EJ.fjiqr's Signature
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                                                           Jennifer L. Thurston, U.S. MBjl~tr-P._,t---,e~J_u_d..::,g_e-:--:c-------
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                           DISTRIBUTION:   COURT    DEFENDANT    PRETRIAL SERVICE    U.S. ATTORNEY                            U.S. MARSHAL
